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               JEB January 6 Civil Disorder Sentences

Defendant          Case Number      Charges of Conviction           Sentence

Mostofsky, Aaron   1:21-CR-00138- 18 U.S.C. § 641; 18 U.S.C. § 8 months’
                   JEB            231(a)(3);    18    U.S.C.     § incarceration
                                  1752(a)(1)                       12 months’
                                                                   supervised
                                                                   release 200
                                                                   hours’
                                                                   community
                                                                   service
                                                                   $2,000
                                                                   restitution
Baugh, Roger Kent 1:22-CR-00313- 18 U.S.C. § 231(a)(3)             12 months’
                   JEB                                             and 1 day
                                                                   incarceration
                                                                   24 months’
                                                                   supervised
                                                                   release
                                                                   $2,000
                                                                   restitution
Dennis,     Robert 1:21-CR-00679- 18 U.S.C. § 231(a)(3); 18 U.S.C. 36 months’
Wayne              JEB            § 111(a)(1); 18 U.S.C. § incarceration
                                  111(a)(1);    18    U.S.C.     § 24 months’
                                  1752(a)(1); 18 U.S.C. § supervised
                                  1752(a)(4); 40 U.S.C. § release
                                  5104(e)(2)(F)                    $2,000
                                                                   restitution
Baquero, Julio     1:21-CR-00407- 18 U.S.C. § 231(a)(3)            18 months’
                   DLF                                             incarceration
                                                                   12 months’
                                                                   supervised
                                                                   release
                                                                   $2,000
                                                                   restitution
Munafo, Jonathan 1:21-CR-00330- 18 U.S.C. § 231(a)(3); 18 U.S.C. 18 months’
                   JEB            § 111(a) (1)                     incarceration
                                                                   12 months’
                                                                   supervised
                                                                   release
                                                                   $2,000
                                                                   restitution
Carpenter, Sara    1:21-CR-00305- 18 U.S.C. § 231(a)(3); 18 U.S.C. 22 months’
                   JEB            § 1512(c)(2); 18 U.S.C. § incarceration

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                                  1752(a)(1); 18 U.S.C. §                24 months’
                                  1752(a)(2); 40 U.S.C. §                supervised
                                  5104(e)(2)(D); 40 U.S.C. §             release
                                  5104(e)(2)(E); 40 U.S.C. §             $2,000
                                  5104(e)(2)(G)                          restitution
Beckley,     Damon 1:21-CR-00285- 18 U.S.C. § 1512(c)(2); 18             18 months’
Michael            JEB            U.S.C. § 231(a)(3)                     incarceration
                                                                         12 months’
                                                                         supervised
                                                                         release
                                                                         $2,000
                                                                         restitution
Krill, Peter Jr.      1:23-CR-00342- 18 U.S.C. § 231(a)(3)               9 months’
                      JEB                                                incarceration
                                                                         12 months’
                                                                         supervised
                                                                         release
                                                                         $2,000
                                                                         restitution
Mock, Brian           1:21-CR-00444- 18 U.S.C. § 1512(c)(2); 18          33 months’
                            JEB      U.S.C. § 231(a)(3) 18 U.S.C. §      incarceration
                                     111(a)(1) 18 U.S.C. § 111(a)(1)     24 months’
                                     18 U.S.C. § 111(a)(1); 18 U.S.C.    supervised
                                     § 111(a)(1); 18 U.S.C. § 641; 18    release
                                     U.S.C. § 1752(a)(1); 18 U.S.C. §    $2,000
                                     1752(a)(2); 18 U.S.C. §             restitution
                                     1752(a)(4); 40 U.S.C. §
                                     5104(e)(2)(F)
Easterday, Isreal     1:22-CR-00404- 18 U.S.C. § 231(a)(3); 18 U.S.C.    30 months’
                            JEB      § 111(a)(1) and (b); 18 U.S.C. §    incarceration
                                     111(a)(1) and (b); 18 U.S.C. §      24 months’
                                     1752(a)(1) and (b)(1)(A); 18        supervised
                                     U.S.C. § 1752(a)(2) and             release
                                     (b)(1)(A);    18     U.S.C.    §    $2,000
                                     1752(a)(4) and (b)(1)(A); 40        restitution
                                     U.S.C. § 5104(e)(2)(D); 40
                                     U.S.C. § 5104(e)(2)(F); 40
                                     U.S.C. § 5104(e)(2)(G
Purkel, Colby         1:23-CR-00448- 18 U.S.C. § 231(a)(3)               21      days’
                            JEB                                          incarceration
                                                                         12 months’
                                                                         supervised
                                                                         release 100

                                                                        Exhibit D-1 page 2
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                                                                        hours
                                                                        community
                                                                        service
                                                                        $2,000
                                                                        restitution
Purkel, Jr., Willard 1:23-CR-00448- 18 U.S.C. § 231(a)(3); 18 U.S.C.    60       days’
                           JEB      § 1752(a)(1); 18 U.S.C. §           incarceration
                                    1752(a)(2); 40 U.S.C. §             9 months’
                                    5104(e)(2)(D); 40 U.S.C. §          supervised
                                    5104(e)(2)(G)                       release
                                                                        $2,000
                                                                        restitution




                                                                       Exhibit D-1 page 3
